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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                §
                                        §
V.                                      §
                                        §         No. 3:16-CR-60-M (2)
JOHN PAUL COOPER,                       §
                                        §
            Defendant.                  §

 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
           OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case.   An objection was filed by Defendant.   The District

Court reviewed de novo those portions of the proposed Findings, Conclusions, and

Recommendation to which objection was made, and reviewed the remaining proposed

Findings, Conclusions, and Recommendation for plain error. Finding no error, the

Court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge.

      The Court therefore DENIES Defendant John Paul Cooper’s Second Motion to

Revoke or Amend Magistrate’s Order of Pretrial Detention [Dkt. No. 342].

      SO ORDERED this 23rd day of April, 2018.
